  Case 19-10361-JKS            Doc 33      Filed 04/29/19 Entered 04/29/19 17:15:50                  Desc Main
                                           Document     Page 1 of 1
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

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                                                                   Case No.:           19-10361-JKS
                                                                                   ____________________
In Re:
VINCENT GOODMAN,                                                   Chapter:                  7
                                                                                   ____________________

Debtor.                                                                              May 28, 2019
                                                                   Hearing Date: ____________________

                                                                   Judge:                Sherwood
                                                                                   ____________________


                                    CERTIFICATION OF CONSENT
                                    REGARDING CONSENT ORDER 
                                                             Resolving Motion for Relief (Docket 10)
         I certify that with respect to the Consent Order _________________________________________
   submitted to the Court, the following conditions have been met: 
          (a) The terms of the consent order are identical to those set forth in the original consent order; 
          (b) The signatures represented by the /s/ _______________ on the consent order reference the
          signatures of consenting parties obtained on the original consent order; 
          (c) I will retain the original consent order for a period of 7 years from the date of closing of the
          case or adversary proceeding. 
          (d) I will make the original consent order available for inspection on request of the Court or
          any party in interest; and 

   Final paragraph options: 
   ☐ (e) If submitting the consent order and this certification to the Court conventionally, I acknowledge
   the signing of same for all purposes, including those under Fed. R. Bankr. P. 9011 (sign certification in
   pen and ink and the Court will scan); 

   ☐ (e) If submitting the consent order and this certification to the Court electronically via the presiding
   judge’s e mail box, as a registered Participant of the Court’s Case Management/ Electronic Files
   (CM/ECF) System, I will simultaneously electronically file this certification with the Court, by use of my
   login and password, thereby signing same for all purposes including those under Fed. R. Bankr. P 9011
   (sign certification with a /s/________________________).
    

         04/29/2019
   Date: _____________________________                        /s/ Laura Egerman
                                                              __________________________________
                                                              Signature of Attorney

                                                                                                         rev.8/1/15
